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                          24-7157
                               UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT


             EPOCH EVERLASTING PLAY, LLC and AMAZON.COM SERVICES LLC

                                                                       Defendants-Appellants.

                                                  Against

             WILLIENE JACKSON-JONES et al.,

                                                                              Plaintiff-Appellee,


                               Appeal from the United States District Court
                                  For the Central District of California
                                          2:23-cv-02567-ODW
                                         Hon. Otis D. Wright, II

               BRIEF OF PROPOSED AMICI CURIAE ANITA MEDAL, ESTHER YOO,
                        GAYLE HAYES AND ANTOINETTE STANIEWICZ
                  IN SUPPORT OF PLAINTIFF-APPELLEE AND IN SUPPORT OF
                          AFFIRMANCE OF THE DECISION BELOW

              George F. Carpinello                    Maia Kats
              Adam R. Shaw                            JUST FOOD LAW PLLC
              BOIES SCHILLER FLEXNER LLP              5335 Wisconsin Avenue, NW, Ste. 440
              30 South Pearl Street, 12th Floor       Washington, DC 20015
              Albany, New York 12207                  (202) 243-7910
              (518) 434-0600                          maiakats@justfoodlaw.com
              gcarpinello@bsfllp.com
              ashaw@bsfllp.com                        Counsel for proposed Amici Curiae

              March 14, 2025
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                                              INTRODUCTION

                    Amici curiae are current and proposed plaintiffs in Li v. Amazon.com

             Services, LLC, No. 2:23-cv-01975-JHC, pending in the Western District of

             Washington. Amici have a direct interest in the outcome of this appeal, because

             they, like the plaintiff herein, have claims against Amazon relating to the sale on

             Amazon’s website of banned and illegal products. Specifically, Amici allege in their

             complaint that Amazon introduces and sells in interstate commerce purported

             dietary supplements that are misbranded and illegal drugs. Amazon sells thousands

             of these banned products. As the Federal Trade Commission referenced in its Notice

             of Penalty to Amazon and others concerning their so-called supplement commerce,

             “[a]t best, many of these product claims are unreliable and waste tens of billions of

             consumer dollars a year, and, even worse, they can cause serious health problem

             requiring acute medical attention.”1 Like plaintiffs in the instant action, Amici bring

             claims against Amazon, inter alia, under the California Unfair Competition

             Remedies Act, Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”). The district court

             in Li v. Amazon.com Services, LLC, 2:23-cv-01975-JHC, 2024 WL 4336432 (W.D.


             1
              Statement of Commissioner Rebecca Kelly Slaughter Joined by Chair Lina Khan
             and Commissioner Alvaro M. Bedoya Regarding the Issuance of a Notice of Penalty
             Offenses on Substantiation of Product Claims, Federal Trade Commission, March
             31, 2023.
             https://www.ftc.gov/system/files/ftc_gov/pdf/rks_substantiation_pno_statement_lk
             _ab_final.pdf

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             Wash. Sept. 27, 2024), largely denied Amazon’s motion to dismiss, upholding the

             viability of plaintiffs’ claim under the UCL.

                    Amici believe that the Court would benefit from their argument with regard

             to California law on the question of whether plaintiffs are entitled to a full refund

             of the entire purchase price of a product that is banned from sale. Appellants argue

             that a full refund is not appropriate because there is a “residual value” to the illegal

             product—toys that violate the Federal Hazardous Substances Act (“FHSA”)

             because they contain small parts which create a choking hazard in small

             children. Appellants make the incredible argument that there should not be a full

             refund because children enjoy using the product and therefore the product has value.

                    This argument is reminiscent of the famous Saturday Night Live skit, “Bag

             O’ Glass” starring Dan Aykroyd and Candice Bergen, in which Mr. Aykroyd plays

             an unscrupulous salesperson trying to convince Ms. Bergen that obviously

             dangerous products, including a bag of glass, have value as toys because children

             find them to be fascinating and entertaining. 2

                    As California courts have made clear, however, whether or not an unwitting

             consumer used a product that is banned because it is misbranded or inherently

             illegal, is not the salient query. A child will play with a toy, unaware of its dangers—


             2
              Saturday Night Live, Consumer Probe: Irwin Mainway - SNL, YouTube (Dec. 4,
             2018), https://www.youtube.com/watch?v=veMiNQifZcM
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             just as other consumers will unwittingly purchase and use banned products when

             they would not have purchased them had they known of their true nature. The proper

             query is whether an inherently illegal and banned product has monetary value.

             California courts presented with like contexts have uniformly held that they do not.

                                                  ARGUMENT
                  I.      The Full Refund Damages Model Is Appropriate for Products
                          Banned from Sale.

                       In the district court below, defendants argued that plaintiff could not meet

             Rule 23(b)(3)’s predominance requirement because her proposed restitution models

             could not reliably measure the monetary relief on a class-wide basis. The district

             court rejected this argument, finding that there was sufficient basis for a “Full

             Refund Method” as the plaintiff alleged that the products were “unlawful and unfair

             because they are banned hazardous substances. When a party sells products to

             consumers that are ‘inherently unfair or illegal,’ a full refund damages model is

             appropriate.” Jackson-Jones v. Epoch Everlasting Play, LLC, No. 2:23-CV-02567-

             ODW (SKX), 2024 WL 4868263, at *5 (C.D. Cal. Sept. 5, 2024) (quoting In re Juul

             Labs, Inc., Mktg. Sales Pracs. & Prod. Liab. Litig., 609 F. Supp. 3d 942, 976 (N.D.

             Cal. 2022) (citing Steroid Hormone Prod. Cases, 181 Cal. App. 4th, 145, 157 (Ct.

             App. 2d Dist. 2010))). Added the court, “because Jackson-Jones alleges that

             Defendants sold banned hazardous substances in violation of the FHSA, Jackson-


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             Jones’s Full Refund model is appropriate for measuring damages in a way that is

             consistent with her theory of liability, and supports certification.” Id. In so holding,

             the court distinguished cases cited by Appellants in which courts “rejected a full

             refund model where plaintiffs had received some value or benefit from misbranded

             or misrepresented products.” Id. The court found these cases to be inapposite

             because the products here are banned.

                    In their appellate brief, Appellants attempt to answer this argument by first

             stating that “awarding a full refund to a plaintiff who has benefited from the product

             would go beyond simply ‘restoring’ her to wholeness” and therefore would not be a

             “restitutionary award.” Appellants’ Br. at 30 (emphasis in original). Appellants then

             go on to assert that “plaintiff indisputably received benefits from the toys she bought.

             She testified that Calico Critters were her granddaughter’s ‘favorite toys,’ and that

             her granddaughter played with them ‘regularly’ for years.” Id. at 31. Conclude

             Appellants, “[i]n these circumstances, a full refund would make her more than

             whole—she would get all her money back and the benefit of the years-long use of

             the toys—putting her in a better position than she would have been in absent the

             alleged conduct.” Id.

                    This amounts to the “Bag O’ Glass” argument, i.e. that even a product banned

             because of its inherent danger to consumers does not justify a full refund because




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             children might have enjoyed playing with it. The argument is clearly contrary to

             California established law and, moreover, is anathema to prevailing public policy.

                    Where the purchased products are illegal, the full refund model is approved

             by the courts as the appropriate model of damages. Indeed, so too, where it is alleged

             that products, such as dietary supplements, are also fraudulent because they lack

             safety, efficacy, and/or are adulterated. This Court’s decision in Lambert v.

             Nutraceutical Corp., 870 F.3d 1170 (9th Cir. 2019), rev’d on other grounds, 586

             U.S. 188 (2019), is precisely on point. In Lambert, plaintiffs claimed that

             defendant’s aphrodisiac product—Cobra Sexual Energy—was illegal because it

             made structure function claims on its labels, had not been through clinical testing or

             received FDA approval, and failed to carry the FDA disclaimer. Id., 870 F.3d at 1174

             (citing 21 U.S.C. § 343(r)(6)(C); 21 C.F.R. § 310.528(c); 21 C.F.R. § 310.528(b)).

             The trial court initially certified the class, but upon transfer, another court decertified

             it. Id. at 1174–75. On appeal, this Court reversed, finding that the lower court had

             abused its discretion because “Lambert presented evidence that the product at issue

             was valueless [illegal and fraudulent] and therefore amenable to full refund

             treatment.” Id. at 1183; see also id. (“‘Customers who purchased rhinestones sold as

             diamonds should have the opportunity to get all of their money back.’” (quoting FTC

             v. Figgie Int’l, Inc., 994 F.2d 595, 606 (9th Cir. 1993)). And see the original district

             court opinion at Ortega v. Natural Balance, Inc., 300 F.R.D. 422, 429–30 (C.D. Cal.


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             2014) (recognizing full refund model because plaintiffs assert product was valueless

             because it was inherently worthless and illegal).

                     The decision in In re Steroid Hormone Product Cases is also directly on point.

             In that case, the plaintiff brought an action under the UCL and the Consumer Legal

             Remedies Act (“CLRA”), Cal. Civ. Code § 1750 et seq., against GNC for selling

             anabolic steroids, which cannot be sold without a prescription. Steroid Hormone

             Prod. Cases, 181 Cal. App. 4th at 149. The lower court denied certification, finding

             that plaintiff could not show that most consumers would find the illegality of the

             products to be material to their purchasing decision. Id. The appeals court rejected

             this reasoning, holding, first, that plaintiff was entitled to prove that the

             misrepresentation at issue—that the steroid was legal—was material to the class. Id.

             at 156–57. Second, the court, applying an objective, reasonable person standard,

             concluded that any reasonable person would find it important to know that the

             product they were buying was illegal. Id. at 157. The court also distinguished the

             decision in In re Vioxx Class Cases, 180 Cal. App. 4th 116 (Ct. App. 2d Dist. 2009),

             where class certification was denied in part because of difficulty in determining the

             difference in value between what was sold and what was represented, explaining

             that:

                     Unlike the allegations in Vioxx, where the plaintiffs put valuation at
                     issue by alleging that due to the alleged misrepresentations they paid
                     more for a medication than it was worth, in this case, Martinez does not


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                    put valuation at issue when he alleges that he bought a product that was
                    illegal to sell or possess.

             Steroid Hormone Prod. Cases, 181 Cal. App. 4th at 160–61.

                    In re Juul, in turn, relying on the Steroid Hormone Product cases, held that a

             full refund was appropriate for all sales of defendant’s vaping devices sold to

             underage children. 609 F. Supp. 3d at 975–76. There was no “residual value” to

             vaping devices that are illegal to sell. Id. at 976. Appellants criticize Juul, saying

             that its finding of no value was “thinly supported,” Appellants’ Br. at 33, apparently

             based upon Appellants’ conclusion that young people might enjoy using the vaping

             device, as undoubtedly many of them would. But the pleasure that a person might

             derive from an illegal product—no less when it is unwittingly used—has no value

             recognized by the law.

                    In contrast, the damages available to the adult class in Juul required an

             analysis of the difference in value between what was offered to users and what they

             received. 609 F. Supp. 3d at 985. That is because, for adult users, the vaping device

             was not illegal. Similarly, in In re Tobacco Products II, 240 Cal. App. 4th 779, 794

             (Ct. App. 4th Dist. 2015), the court held that purchasers of Marlboro Light cigarettes

             were not entitled to a full refund despite the fact that the manufacturer had

             misrepresented that the light cigarettes had less tar and nicotine. There, the cigarettes

             had a residual value to its users and there was no claim that selling the cigarettes to

             adults was in any way illegal. Id. at 802. Moreover, as the court noted, plaintiffs did

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             not contest the court’s conclusion that the cigarettes had value despite the

             manufacturer’s misleading claim. Id. at 791, 802.

                    In Franz v. Beiersdorf, Inc., 745 F. App’x 47, 48 (9th Cir. 2018)

             (unpublished), this Court held that plaintiff had suffered injury in fact under

             California law because she alleged that, “she spent money on a product [a drug not

             authorized by the FDA] that should not have been on the market.”

                    The decision in Makaeff v. Trump University, LLC, 309 F.R.D. 631 (S.D. Cal.

             2015) is also instructive. In that case, individuals who had enrolled in Trump

             University claimed that they were defrauded because they were promised that they

             would learn Donald Trump’s various techniques for selling real estate, and this claim

             was false. Id. at 634. In allowing plaintiffs to pursue a full refund damages model,

             the court carefully distinguished the cases such as those relied upon by Appellants

             here, where the product had an intrinsic value beyond the false nutritional claim

             made on its label. Id. at 638–39. For example, the court distinguished In re POM

             Wonderful, LLC, No. ML 10-02199 DDP RZX, 2014 WL 1225184 (C.D. Cal. Mar.

             25, 2014), in which the plaintiffs claimed that POM misleadingly advertised that its

             juices had various scientifically proven health benefits. The court rejected a full

             refund model because the pomegranate juice being sold had inherent value,

             including hydration, vitamins, flavor, energy, or other things of value. Id., 2014 WL

             1225184 at *3 & n.2.


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                    Similarly, the Trump University court distinguished Werdebaugh v. Blue

             Diamond Growers, No. 12-CV-2724-LHK, 2014 WL 2191901 (N.D. Cal. May 23,

             2014), where plaintiffs alleged that almond milk was falsely advertised as containing

             no sugar and being all natural. Despite the arguable falsity of these claims, the court

             found that the plaintiffs received, in essence, what they were promised, that is,

             almond milk, and that the alleged imperfection in the milk did not render the milk

             worthless. Id., 2014 WL 2191901, at *22. Concluded the Trump University court:

                    The Court finds that the food misbranding cases are distinguishable.
                    Food cases involve a tangible product obtained for sustenance….
                    Moreover, there is no question that food products have intrinsic value
                    even when stripped of some advertised quality such as being “all
                    natural.” On the other hand, TU essentially marketed intellectual
                    property based upon the singular experiences of Donald Trump. While
                    the food products may have been missing a particular premium quality,
                    Plaintiffs contend that TU was missing its reason for existing, i.e.,
                    Donald Trump’s knowledge and experience.

             309 F.R.D. at 639.

                    Similarly, the Trump University court distinguished Colgan v. Leatherman

             Tool Group, Inc., 135 Cal. App. 4th 663, 676–77, 694 (Ct. App. 2d Dist. 2006),

             where the court found that the plaintiffs who had bought tools falsely labeled as

             “Made in U.S.A.” were not entitled to a full refund because, although they did not

             receive what they had bargained for, they nonetheless did receive usable tools.

                    Finally, the Trump University court expressly recognized the California cases

             holding that illegal products have no inherent value (citing in particular the Steroid

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             Hormone Product Cases). 309 F.R.D. at 639–40. The court nonetheless declined to

             specifically apply the Steroid Cases precedent to the case before it because it did not

             find that Trump University was operating illegally in California. Id. at 640.

             Presumably, the court would have upheld a full refund model if it found that it was

             illegal for Trump University to operate in the state.

                    There can be no residual value in a banned product,3 and where there is no

             residual value, a full refund is appropriate. Woodard v. Labrada, No.

             EDCV16189JGBSPX, 2021 WL 4499184, at *38 (C.D. Cal. Aug. 31, 2021) (finding

             the full refund model appropriate where plaintiff alleges that the weight loss

             supplement is worthless and lacking in inherent value); Mullins v. Premier Nutr.

             Corp., 178 F. Supp. 3d 867, 898–99 (N.D. Cal. 2016) (holding that the plaintiff can

             pursue a full refund model because it claims that the product is worthless in relieving

             joint pain, and distinguishing POM and Tobacco II)4; Allen v. Hylands, 300 F.R.D.

             643, 671 and n.25 (C.D. Cal. 2014) (allowing plaintiffs to pursue full refund model

             because the homeopathic products were claimed to be entirely worthless because


             3
               The one aberrant exception appears to be Corbett v. PharaCare U.S., Inc., No.
             21CV137-JES (AHG), 2024 WL 1356220, at *24–25 (S.D. Cal. Mar. 29, 2024), in
             which the court acknowledged the prevailing California case law that illegal drugs
             have no residual value, but declined to follow established law because it uniquely
             found the legal violations to be “technical.”
             4
               Mullins also distinguished Ries v. Arizona Beverages USA LLC, 287 F.R.D. 523,
             532 (N.D. Cal. 2012), where the court also said that a full refund was not appropriate
             because the iced tea, although allegedly not “all natural,” nonetheless has value as
             ordinary iced tea.
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             they were ineffective, distinguishing food products that have “some inherent

             nutritional value”) (emphasis original); Farar v. Bayer AG, No. 14-CV-04601-

             WHO, 2017 WL 5952876, at *10 (N.D. Cal. Nov. 15, 2017) (allowing plaintiff to

             pursue a full refund model where plaintiff claims that vitamins are ineffective in

             providing the benefit that the advertisements claim).

                    California law is consistent with case law in other jurisdictions. For example,

             in Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1080 (11th Cir. 2019),

             plaintiffs brought a class action against the manufacturer of an illegal supplement.

             The trial court dismissed the case, finding that plaintiffs suffered no injury because

             they got what they paid for—legal or not—and failed to allege any ill effects from

             taking the product. Id. at 1083. The Eleventh Circuit reversed, finding that “plaintiffs

             plausibly alleged that they suffered an economic loss when they purchased

             supplements that were worthless because the FDA prohibited sale of the

             supplements.” Id. at 1080. In so holding, the court relied in part on this Court’s

             decision in Franz. Id. at 1086. Similarly, in In re Valsartan MDL, 19-md-2875

             (RBK/SAK), 2024 WL 7767571 at *5 (D.N.J. Sept. 26, 2024), the court held that

             plaintiffs could proceed with a class action based on a full refund model because

             drugs at issue did not receive FDA approval and therefore should not have been sold:

             “the supply side curve of the contaminated drugs the FDA never would have allowed

             for sale is zero.” Finally, in Rikos v. The Proctor & Gamble Co., 799 F.3d 497 (6th


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             Cir. 2015), the court approved a full refund model for a claim that a probiotic

             supplement was worthless because it did not work, even if there were “satisfied

             customers.”

                    In sum, Appellants’ argument that the product at issue here has residual value

             because children enjoy playing with it, despite the fact that it is banned by federal

             law as unsafe, has no support in California case law.

                                               CONCLUSION

                    For the foregoing reasons, amici curiae respectfully urge the Court to reject

             Appellants’ argument that a full refund is not an appropriate damage model in this

             case because children enjoy using the banned product.

             Dated: March 14, 2025                     Respectfully submitted,

                                                       /s/ George F. Carpinello
                                                       George F. Carpinello
                                                       Adam R. Shaw
                                                       BOIES SCHILLER FLEXNER LLP
                                                       30 South Pearl Street, 12th Floor
                                                       Albany, New York 12207
                                                       (518) 434-0600
                                                       gcarpinello@bsfllp.com
                                                       ashaw@bsfllp.com

                                                       Maia Kats
                                                       JUST FOOD LAW PLLC
                                                       5335 Wisconsin Avenue, NW, Ste. 440
                                                       Washington, DC 20015
                                                       (202) 243-7910
                                                       maiakats@justfoodlaw.com

                                                       Counsel for proposed Amici Curiae
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                       Pursuant to Federal Rules of Appellate Procedure 29(a)(4) and 32(g)(1) and

              Circuit Rule 32-1(e), I hereby certify that the foregoing document complies with the

              type-volume limitations of Federal Rule of Appellate Procedure 29(a)(5) and Circuit

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              processing system used to prepare the document, the document contains 2,887 words,

              excluding the items that may be excluded under Federal Rule of Appellate Procedure

              32(f).

                       I further certify that the foregoing brief complies with the typeface and type-

              style requirements of Federal Rule of Appellate Procedure 32(a)(5) and (6) because

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              typeface.


              Dated: March 14, 2025                            /s/ George F. Carpinello         .




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                                       CERTIFICATE OF SERVICE

                    I hereby certify that on March 14, 2025, I electronically filed the foregoing

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             CM/ECF system.

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             Dated: March 14, 2025                           /s/ George F. Carpinello        .




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